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                                                 Tel: (213) 623-9300 / Fax: (213) 623-9924
                                             6
                                                 Proposed Attorneys for the Chapter 11 Debtors and
                                             7   Debtors In Possession

                                             8                             UNITED STATES BANKRUPTCY COURT

                                             9               CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES DIVISION
   601 SOUTH FIGUEROA STREET , SUITE 2500




                                            10
LOS ANGELES , CALIFORNIA 90017-5704




                                            11
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                                                 In re                                                Lead Case No. 2:18-bk-20151-ER
                                            12   VERITY HEALTH SYSTEM OF                              Jointly Administered With:
          (213) 623-9300




                                                 CALIFORNIA, INC., et al.,                            Case No. 2:18-bk-20162-ER
                                            13                                                        Case No. 2:18-bk-20163-ER
                                                         Debtors and Debtors In Possession.           Case No. 2:18-bk-20164-ER
                                            14                                                        Case No. 2:18-bk-20165-ER
                                                                                                      Case No. 2:18-bk-20167-ER
                                            15   ☒Affects All Debtors                                 Case No. 2:18-bk-20168-ER
                                                                                                      Case No. 2:18-bk-20169-ER
                                            16   ☐ Affects Verity Health System of California, Inc.   Case No. 2:18-bk-20171-ER
                                                 ☐ Affects O’Connor Hospital                          Case No. 2:18-bk-20172-ER
                                            17   ☐ Affects Saint Louise Regional Hospital             Case No. 2:18-bk-20173-ER
                                                 ☐ Affects St. Francis Medical Center                 Case No. 2:18-bk-20175-ER
                                            18   ☐ Affects St. Vincent Medical Center                 Case No. 2:18-bk-20176-ER
                                                 ☐ Affects Seton Medical Center                       Case No. 2:18-bk-20178-ER
                                            19   ☐ Affects O’Connor Hospital Foundation               Case No. 2:18-bk-20179-ER
                                                 ☐ Affects Saint Louise Regional Hospital             Case No. 2:18-bk-20180-ER
                                            20     Foundation                                         Case No. 2:18-bk-20181-ER
                                                 ☐ Affects St. Francis Medical Center of Lynwood      Chapter 11 Cases
                                            21     Foundation
                                                 ☐ Affects St. Vincent Foundation                     Hon Judge Ernest M. Robles
                                            22   ☐ Affects St. Vincent Dialysis Center, Inc.
                                                 ☐ Affects Seton Medical Center Foundation            NOTICE OF CASE COMMENCEMENT
                                            23   ☐ Affects Verity Business Services                   OF CHAPTER 11 CASES AND MEETING
                                                 ☐ Affects Verity Medical Foundation                  OF CREDITORS PURSUANT TO
                                            24   ☐ Affects Verity Holdings, LLC                       SECTION 341 OF THE BANKRUPTCY
                                                 ☐ Affects De Paul Ventures, LLC                      CODE
                                            25   ☐ Affects De Paul Ventures - San Jose Dialysis,
                                                   LLC
                                            26
                                                                 Debtors and Debtors In Possession.
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                                             1   TO ALL INTERESTED PARTIES:

                                             2   COMMENCEMENT OF CASES: On August 31, 2018, the entities listed below (collectively,
                                                 the “Debtors”) filed voluntary petitions for relief under chapter 11 of title 11 of the United States
                                             3   Code, 11 U.S.C. §§ 101 et. seq. (the “Bankruptcy Code”), with the United States Bankruptcy
                                                 Court for the Central District of California (Los Angeles Division) (the “Court”), and an order
                                             4   for relief has been entered. The Debtors’ chapter 11 cases (collectively, the “Cases”) are being
                                                 jointly administered under Case No. 2:18-bk-20151-ER. You may be a creditor of one of the
                                             5   Debtors.

                                             6   THIS NOTICE LISTS IMPORTANT DEADLINES. You may want to consult an attorney to
                                                 protect your rights. All documents filed in these Cases may be inspected at the Office of the
                                             7   Claims and Noticing Agent at the address listed below:

                                             8              Debtor                           Address                  Case No.       Tax ID No.
                                             9   Verity Health System of          2040 East Mariposa Ave.                                XX-XXXXXXX
                                                 California, Inc.                 El Segundo, CA                  2:18-BK-20151-ER
   601 SOUTH FIGUEROA STREET , SUITE 2500




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                                                 O’Connor Hospital                2105 Forrest Ave.
                                            11                                    San Jose, CA 95128              2:18-BK-20168-ER       XX-XXXXXXX
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                                                 Saint Louise Regional            9400 No Name Uno                                       XX-XXXXXXX
                                                 Hospital                         Gilroy, CA 95020                2:18-BK-20162-ER
                                            13

                                            14   St. Francis Medical Center       3630 East Imperial Hwy                                 XX-XXXXXXX
                                                                                  Lynwood, CA 90262               2:18-BK-20165-ER
                                            15
                                                 St. Vincent Medical Center       2131 West Third Street          2:18-BK-20164-ER       XX-XXXXXXX
                                            16                                    Los Angeles, CA 90057

                                            17
                                                 Seton Medical Center             1900 Sullivan Ave.              2:18-BK-20167-ER       XX-XXXXXXX
                                            18                                    Daly City, CA 94105


                                            19   O’Connor Hospital                2105 Forrest Ave.               2:18-BK-20179-ER        770006295
                                                 Foundation                       San Jose, CA 95128
                                            20
                                                 Saint Louise Regional            9400 No Name Uno                2:18-BK-20172-ER       XX-XXXXXXX
                                            21   Hospital Foundation              Gilroy, CA 95020

                                            22
                                                 St. Francis Medical              3630 East Imperial Hwy          2:18-BK-20178-ER
                                                                                                                                         XX-XXXXXXX
                                            23   Center of Lynwood                Lynwood, CA 90262
                                                 Foundation
                                            24
                                                 St. Vincent Foundation           2131 West Third Street          2:18-BK-20180-ER
                                                                                                                                         XX-XXXXXXX
                                            25                                    Los Angeles, CA 90057

                                            26   St. Vincent Dialysis Center,     201 South Alvarado, Suite 220   2:18-BK-20171-ER
                                                                                                                                          953749293
                                                 Inc.                             Los Angeles, CA 90057
                                            27

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                                             1                                                                2:18-BK-20175-ER          XX-XXXXXXX
                                                 Seton Medical Center          1900 Sullivan Ave.
                                                 Foundation                    Daly City, CA 94105
                                             2

                                             3   Verity Business Services      2040 East Mariposa Ave.        2:18-BK-20173-ER          XX-XXXXXXX
                                                                               El Segundo, CA
                                             4
                                                 Verity Medical Foundation     400 Race Street                2:18-BK-20169-ER          XX-XXXXXXX
                                             5                                 San Jose, CA

                                             6
                                                 Verity Holdings, LLC          2040 East Mariposa Ave.        2:18-BK-20163-ER          XX-XXXXXXX
                                             7                                 El Segundo, CA

                                             8   De Paul Ventures, LLC         203 Redwood Shores Pkwy, Ste   2:18-BK-20176-ER
                                                                                                                                        XX-XXXXXXX
                                                                               800
                                             9                                 Redwood City, CA 94065
   601 SOUTH FIGUEROA STREET , SUITE 2500




                                            10   De Paul Ventures – San        203 Redwood Shores Pkwy, Ste   2:18-BK-20181-ER
LOS ANGELES , CALIFORNIA 90017-5704




                                                                                                                                        XX-XXXXXXX
                                                 Jose Dialysis, LLC            800
                                            11
             DENTONS US LLP




                                                                               Redwood City, CA 94065

                                            12
          (213) 623-9300




                                                 PURPOSE OF CHAPTER 11 FILING: Chapter 11 of the Bankruptcy Code enables a debtor
                                            13   to reorganize or liquidate pursuant to a plan of reorganization. A plan is not effective unless
                                                 approved by the Court at a confirmation hearing. Creditors will be given notice concerning any
                                            14   plan and will be given notice if this case is dismissed or converted to another chapter of the
                                                 Bankruptcy Code. The Debtors will remain in possession of their property and will continue to
                                            15   operate their business unless a trustee is appointed. No motion to appoint a trustee has been filed
                                                 at this time. Creditors may be sent a copy of the plan and a disclosure statement describing the
                                            16   plan. Creditors may have the opportunity to vote on the plan. Creditors will be sent notice of the
                                                 date of the confirmation hearing and may object to confirmation of the plan and attend the
                                            17   confirmation hearing.

                                            18   CREDITORS MAY NOT TAKE CERTAIN ACTIONS: A creditor is anyone to whom the
                                                 Debtors owe money or property. Under the Bankruptcy Code, the Debtors are granted certain
                                            19   protection against creditors. Common examples of prohibited actions by creditors include
                                                 contacting the Debtors to demand repayment, taking action against the Debtors to collect money
                                            20   owed to creditors or to take property of the Debtors and starting or continuing foreclosure
                                                 actions, repossessions or wage deductions. If unauthorized actions are taken against the Debtors,
                                            21   the Court may penalize the creditor who takes them. A creditor who is considering taking action
                                                 against the Debtors or property of the Debtors should review section 362 of the Bankruptcy
                                                 Code and may wish to seek legal advice.
                                            22

                                            23   MEETING OF CREDITORS: The Debtors’ representative, as specified in Federal Rule of
                                                 Bankruptcy Procedure 9001(5), is required to appear at a meeting of creditors on the date and at
                                            24   the place set forth below for the purpose of being examined under oath. Attendance by creditors
                                                 at the meeting is welcomed, but not required. At the meeting, creditors may examine the
                                            25   Debtors’ representative. The meeting may be continued or adjourned from time to time by notice
                                                 at the meeting, without further written notice to creditors.
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                                             1
                                                                            DATE, TIME AND LOCATION OF MEETING OF CREDITORS
                                             2
                                                          Date: October 12, 2018              Location: St. Vincent Hospital
                                             3                                                          Seton Auditorium
                                                                                                        2131 West Third Street
                                             4            Time: 9:30 a.m.                               Los Angeles, CA 90057

                                             5

                                             6   PROOF OF CLAIM: Schedules of creditors will be filed pursuant to Federal Rule of
                                                 Bankruptcy Procedure 1007, and the Debtors will seek an order of the Court establishing
                                             7   procedures for the filing of proofs of claim. A proof of claim is a signed statement describing a
                                                 creditor’s claim. Any creditor holding a scheduled claim that is not listed as disputed, contingent
                                             8
                                                 or unliquidated as to amount may, but is not required to, file a proof of claim in these cases.
                                             9   Creditors whose claims are not scheduled or whose claims are listed as disputed, contingent or
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                                                 unliquidated as to amount and who desire to participate in these cases or share in any distribution
                                            10   must file their proofs of claim. A creditor who desires to rely on the schedules of creditors has
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                                                 the responsibility for determining that the claim is listed accurately.
                                            11
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                                                 A proof of claim may be filed at any time prior to the deadline established by the Court. No
                                            12
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                                                 deadline has yet been established in these cases. When a deadline is established, all known
                                            13   creditors will received notice of the deadline, along with a proof of claim form indicating how
                                                 their claim is scheduled and instructions for completing and filing a proof of claim. Proof of
                                            14   claim forms are also available in the office of the clerk of the court of any bankruptcy court.
                                                 Kurtzman Carson Consultants LLC is the claims agent in these cases. The place to request a
                                            15   proof of claim form from the Claims Agent is 2335 Alaska Avenue, El Segundo, California
                                                 90245. You will be notified by separate notice when and where to file a proof of claim.
                                            16

                                            17   PLEASE DO NOT FILE OR MAIL ANY PROOFS OF CLAIM OR OTHER
                                                 DOCUMENTATION, INCLUDING CORRESPONDENCE CONCERNING A CLAIM,
                                            18   WITH OR TO ANYONE, INCLUDING THE BANKRUPTCY COURT, THE UNITED
                                                 STATES TRUSTEE AND/OR THE UNDERSIGNED COUNSEL, UNTIL YOU ARE
                                            19   INSTRUCTED WHEN AND WHERE TO FILE A PROOF OF CLAIM
                                            20   DISCHARGE OF DEBTS: Confirmation of a chapter 11 plan may result in a discharge of debts,
                                                 which may include all or part of your claim. See section 1141(d) of the Bankruptcy Code. A
                                            21
                                                 discharge means that you may never try to collect your claim from any of the Debtors, except as
                                            22   provided in the plan.

                                            23   NOTICE: You will not receive notice of all documents filed in these cases. All documents filed
                                                 with the Court, including schedules of the Debtors’ property and debts, will be available for
                                            24   inspection at the office of the clerk of the court. Since this case is governed by the Local
                                                 Bankruptcy Rules regarding electronic means of filing, signing and verifying documents, the
                                            25   Court’s docket sheet and documents filed electronically are also accessible at the Court’s Internet
                                            26   site, www.nysb.uscourts.gov, through an account obtained from Pacer Service Center by dialing
                                                 (800) 676-6856 (from the US) or (210) 301-6440 (from outside the US).
                                            27
                                                 FURTHER INFORMATION: Further information concerning these chapter 11 cases may be
                                            28   obtained by calling (888) 249-2741 (from the US and Canada) or (310) 751-2605 (from outside


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                                             1   the US). The Claims Agent will also maintain a website, www.kccllc.net/verityhealth,
                                                 specifically for the Debtors’ bankruptcy cases from which anyone may download the claims
                                             2   register and obtain other relevant information and documents pertaining to the Debtors’ cases at
                                             3   no extra charge.

                                             4   LEGAL ADVICE: The staff of the bankruptcy clerk’s office cannot give legal advice. Consult a
                                                 lawyer to determine your rights in this case.
                                             5

                                             6   Dated: September 13, 2018
                                                                                                    DENTONS US LLP
                                             7                                                      SAMUEL R. MAIZEL
                                                                                                    JOHN A MOE, II
                                             8                                                      TANIA M. MOYRON
                                             9
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                                                                                                    By: /s/Samuel R. Maizel
                                            10
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                                            11
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                                                                                                    Proposed Attorneys for
                                            12                                                      Debtors and Debtors in Possession
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